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 5
                                 UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
 7

 8
                                                               CASE NO.: 2:23-cv-01495-JHC
      FEDERAL TRADE COMMISSION, et al.,
 9
                                                               STIPULATED MOTION AND
                       Plaintiffs,
10                                                             ORDER TO SEAL PORTIONS OF
                                                               THE AMENDED COMPLAINT
                  v.
11
      AMAZON.COM, INC., a corporation,
12                                                             NOTE ON MOTION CALENDAR:
                                                               Thursday, March 14, 2024
                       Defendant.
13

14

15          The parties, by and through their attorneys of record, respectfully request that the Court

16   enter the proposed order set forth below, sealing portions of Plaintiffs’ Amended Complaint.

17          In support of this request, the parties represent the following to the Court:

18          1.     On February 13, 2024, the Court issued a Case Scheduling Order setting March

19                 14, 2024 as the deadline to join additional parties. Dkt. #159.

20          2.     Pursuant to that Order, Plaintiffs are filing an Amended Complaint that joins as

21                 plaintiffs the Commonwealth of Puerto Rico and the State of Vermont. The only

22                 changes in the Amended Complaint relate to this joinder.

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     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 1
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 1         3.     The Court previously entered two orders sealing portions of the Complaint. Dkts.

 2                #108, 120.

 3         4.     The Amended Complaint includes information the Court previously ordered to be

 4                sealed. Id. That information is highlighted in the Amended Complaint.

 5         5.     Plaintiffs are filing a public version of the Amended Complaint redacting only the

 6                information the Court previously ordered to be sealed. Id.

 7         6.     Pursuant to Local Civil Rule 5(g)(3)(A), the undersigned counsel certify that they

 8                met and conferred to reach the agreement described in this Stipulated Motion.

 9                The following attorneys conferred by telephone on March 14, 2024: Edward H.

10                Takashima and Kara King for the FTC and Constance T. Forkner for Amazon.

11         7.     The parties stipulate as follows, subject to Court approval, and jointly request that

12                the Court enter the following Order approving this Stipulation:

13                a.      The highlighted portions of the Amended Complaint shall be sealed.

14         Stipulated to and respectfully submitted this 14th day of March, 2024, by:

15
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                                                      EDWARD H. TAKASHIMA (DC Bar #
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                                                      Attorneys for Plaintiff Federal Trade
24                                                    Commission
     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 2
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     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 3
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     STIPULATED MOTION AND
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     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 5
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     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 6
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 1                                          ORDER

 2         IT IS SO ORDERED.

 3         DATED this 15th day of March, 2024.

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 5                                               JOHN H. CHUN
                                                 UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION AND
     ORDER TO SEAL PORTIONS OF THE
     AMENDED COMPLAINT - 7
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